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Attorneys for Plaintiff, American DJ Supply, Inc.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

AMERICAN DJ SUPPLY, INC., a Case No.
California corporation, CV10- 3595 CAS(JEMX)

Plaintiff,
vs. Honorable Chri§ltina A. Snyder
Courtroom 5, 2“°' Floor
NSI AUDIO, INC., a California corporation,
dba NBI TRADING CO., aka WORDER RE:
NSIAUDIO. COM, WORLD STEREO II a OINT STIP LATION FOR
California corporation, dba WORLD OF PROTECTIVE ORDER
STEREO, aka WORLD OF STEREO II, aka
WORLDOFSTEREO. COM, aka
WORLDOFSTEREOONLINE. COM, CAR
AUDIO DEPOT DISTRIBUTIONS
CORPORATION, a California co oration,
dba CAR AUDIO DEPOT, aka C R
AUDIO & DJ DEPOT, aka CAR AUDIO
WAREHOUSE, aka
ONLINECARAUDIOWAREHOUSE. COM,
AUDIO PLUS INC., a California
Co marion dba A P’LUS SOUND
SY TEMS aka A+ SOUND SYSTEMS,
aka APLUSSQUNDSYSTEMS C<)M an’d
DOES 1 through 10,

Defendants.

 

1
[PRoPOSED] ORDER

 

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ORDER
The Court, having considered the JOINT STIPULATED PROTECTIVE

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19900 MarArlhur Boulc\'ord, S\lilc 1150
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having been shown, hereby:
ORDERS the JOINT STIPULATED PROTECTIVE ORDER be:

APPROVED

I:I DENIED

Dated: \k m `/ 9010

 

 

2
[PROPOSED] ORDER

 

 

